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                            EXHIBIT 49




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                                                      SFUND RECORDS CTR
                                                1654 05103
                                                    -
             AGENDA FOR SEPTEMBER 10 EPA/MSG TECHNICAL MEETING
                                                                                    AR2511
              TIME:        10:00 a.m. to 3:00 p.m.
              LOCATION:    Fullerton Hunt Branch Library
                           201 South Basque (from Euclid go west on
                             Valencia to Basque and follow the signs)
                           Fullerton, California
                           (714)738-3121                                  SFUND RECORDS CTR
                                                                            88103646
       I.     TAR - ASPHALT RELATIONSHIP          (1/2 hour)
              After Professor Satterfield's presentation at the August
              29, 1991 meeting regarding the reactions occurring at
              the McColl Site which have led to the sludge becoming an
              asphaltic cement material, the EPA asked for further
              discussion as to why tar is still present at the Site.
              The MSG will lead the discussion.
      II.     DISTRIBUTION AND AMOUNT OF TAR          (1 hour)
              In the August 29, 1991 meeting, EPA raised questions the
              Agency has regarding the Selective Excavation, Treatment
              and RCRA-Equivalent Closure approach. Issues which EPA
              would like further information about include: (i) how
              does the MSG define tar, (ii) how much tar does the MSG
              believe is present at the Site, (iii) where does the MSG
              believe the tar is located, (iv) how does the MSG intend
              to find the tar, and (v) how will the Selective
              Excavation alternative be impacted, if at all, if the
              MSG is unable to locate and treat all of the tar. The
              MSG will lead the discussion.
    III.      REMEDIAL ACTION OBJECTIVES          (1 1/2 hours)
              In the August 29, 1991 meeting, EPA stated the MSG
              objectives were similar to EPA's, just more detailed.
              EPA will present a list of the objectives to the MSG and
              lead a follow-up discussion of the Agency's remedial
              action objectives for the Site.
     IV.      SCHEDULE    (1/2 hour)
              EPA and MSG will discuss the detailed schedule that EPA
              will be providing to the community on September 9.
              Dates and agendas for the next technical meetings will
              be set, along with any conference calls.
      V.      RISK ASSESSMENT     (1/2 hour)
              EPA and MSG will begin initial discussions as to the
              need for or lack of need for new risk assessments.
              Unfortunately, MSG's contractor will not be available to
              participate in this meeting and detailed discussions
              between the respective contractors will need to be
              deferred to the September 30 meeting.
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           DISCUSSION OF SELECT ISSUES REGARDING TAR AT McCOLL


     I.      INTRODUCTION
          During the August 29, 1991 meeting with the EPA, the
 McColl Site Group (MSG) described the processes by which acidic
 sludge at McColl has been and is being converted to asphalt and
 tar.  Further clarification was requested on the distribution of
 the tar within the sumps, why some pockets of tar appear to be
 found within the asphalt, and whether it is critical to find and
 solidify all of the tar to successfully close the site. The
 following paragraphs describe the acidic sludge conversion
 process, relate that process to the observations from sampling
 programs at McColl, and explain why it is not necessary to find
 and solidify all of the tar.
    II.      ACIDIC SLUDGE CONVERSION PROCESS
           Dr. Charles Satterfield, in his presentation to the EPA
  on August 29, 1991, identified the three reactions by which
  acidic sludges are converted to asphalt:
             1.     acid catalyzed       polymerization/condensation;
             2.     acid catalyzed      polymerization/condensation,
                    accelerated by      acidified clay; and
             3.     acid catalyzed      polymerization/condensation,
                    accelerated by      autoxidation.
            Initially, the reactions occurred rapidly. This is due
  to the exposure of the acidic sludge to air, the presence of
  concentrated sulfuric acid, the presence of clay from the sides
  and bottom of the sumps, and the presence of drilling muds in
  some of the sumps. The high ash content of the asphalt confirms
  acidic clay catalysis as a primary mechanism for the formation of
  the asphalt. The tar is an intermediate product that has not
  been completely transformed to asphalt due to: (i) the presence
  of saturated hydrocarbons that will not polymerize, or (ii)
  reduction in the reaction rate due to lack of oxygen.
   III.      WHAT IS TAR?
           Tar is an intermediate product from acidic sludge that
  has not been transformed to asphalt.
          Physically, the tar is            black and semi-fluid in nature.
 The viscosity of the tar varies            depending on the stage of
 transformation the material has            reached, which is determined by
 the original composition of the            sludge and the amount of




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  commingling with clay and oxygen. The variation in tar
  characteristics is exemplified by the waste descriptions used
  during the EPA drilling in Sump L-l, as shown in Tables 1 and 2.
           The tar has organic characteristics similar to those of
  the asphalt, but with much lower ash content, indicative of the
  absence of clay. Data from the EPA (1990) indicate that tar
  samples had an ash content of less than 2 percent, while
  asphaltic samples had ash levels of about 55 percent. The tar is
  acidic, with pH ranging from less than 1.0 to 2.0.
    IV.       WHERE IS THE TAR?
            Tar is found primarily in localized areas above or in
  the upper portions of the asphalt, in areas near where seeps have
  occurred.
           Due to density differences between tar and asphalt, the
  majority of the tar is found above the asphalt. As the acidic
  sludge converted into tar and asphalt, the denser asphalt sank to
  the bottom of the sump, while the lighter asphalt moved toward
  the top. While small droplets of tar may be trapped within the
  asphalt, the majority of tar is found above the asphalt.
  Separating the relatively pure tar and asphalt phases is a
  transition zone. Because of the small density variations, both
  tar and asphalt would be found in this zone. The EPA Subsurface
  Investigation Report (Ecology and Environment, 1991) shows that
  virtually all of the tar in Sump L-l was found either immediately
  above the asphalt or in the transition zone. The transition zone
  is approximately one to two feet thick.
           Large tar deposits are found near seeps. The Ecology
  and Environment Report showed that tar was found in the vicinity
  of "Old Faithful" (see Figure 1). Cone penetrometer data
  (Ecology and Environment, 1989) confirmed a tar zone in this
  area. The tar is believed to move to the surface through cracks
  in the overlying material as pressure extrudes the tar.
            Tar distribution above the asphalt is consistent with
  the MSG "mud wave" theory (MSG, 1991), in which overburden soils
  or drilling muds pushed into the sumps from one side of the sump
  displaced the tar. This activity would result in more
  concentrated zones of tar, which could be thicker at some
  locations, as indicated by the available data. Figure 2, a
  cross-section through Sump L-l, shows that the thickest tar
  occurs toward the sump edges. The predesign investigations will
  define these localized areas of tar within the sumps which will
  require treatment.




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      V.       HOW MUCH TAR IS THERE?
           Based on the L-l drilling program, the boring logs by
  Radian (1983) and CH2M Hill (1987), and MSG mapping of the tar
  seeps (MSG, 1991), the volume of tar within the McColl sumps is
  predicted at 5,000 to 10,000 cubic yards. A more precise
  estimate of the volume and location of the tar will be obtained
  during the cone penetrometer study.
           From information obtained during the recent drilling
  program conducted at the McColl Site, it is known that Sump L-l
  contains tar in areas above the asphalt, in the transition zone
  and in isolated pockets within the asphalt. The amount of tar in
  Sump L-l is less than 10% of the total carbonaceous waste in the
  sump. Since the sumps are all of similar origin and age, this
  distribution should be similar for the other sumps. It is
  possible, however, that there may not be as much tar in upper
  Ramparts because there are very few seeps in that area.
     VI.       CONCLUSIONS AND RELEVANCE TO McCOLL.
           The Selective Excavation, Treatment and RCRA Equivalent
  Closure plan has identified a process for locating, solidifying
  and/or excavating significant areas of tar at the McColl Site.
  The plan will work for the following reasons:
                        (a)    The asphaltic waste does not reconvert to tar;
                  (b) The tar in the sumps is primarily located at
        the top of the asphalt;
                  (c) The plan will allow tar to be located through
        a combined cone penetrometer and drilling program. The plan
        will locate all of the significant tar areas above the
        asphalt and in the transition zone. Any remaining material
        will be of an isolated nature and of too small of a volume to
        contribute to seeps or cause geotechnical instability;
                 (d) The plan will allow backfilling of the spots
       where tar is removed with crushed rock. The void space in
       this crushed rock would be sufficient to assimilate any
       remaining tar; and
                  (e) Tar which is currently trapped within the
       asphalt is immobile. The asphalt itself will withstand the
       weight of the overlying material and will resist "squeezing
       out" any small residual amounts of tar, just as it contains
       the sulfur dioxide. Therefore, isolated pockets of tar
       within the asphalt will not impact the integrity of the plan,
       and permanence will be achieved.



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                              TABLE 1
                      POSSIBLE TAR ENCOUNTERS
            DURING AUGUST 1990 BOREHOLE DRIILING AT LOS COYOTES PIT L01

 BOREHOLE    GEOLOGIST      DEPTH       DESCRIPTION
  NUMBER                  INTERVAL
                             (FT)

     3              VR   7.5   -    9 Black, plastic material mixed with brown silt
                          14   -  15 Brown clay intermixed with black tar
                          15   -  19 Brown clay mixed with black tar
    4               VR   8.5   -  10 Black char, granular, with stringers of plastic tar
    8               AF   8.5   -    9 Moist char layer
    12              AF     1    -   5 Hard silty clay, tar ball stuck in sampler
                           5   - 6.5 Clay mixed with tar tense
                         6.5   -    7 Tar lense
    13              AF    10   -  12 Tar
                          12   - 12.5 Tar and char
    15          DW       5.9   -  15 Char, initially with moisture then becoming hard
                          15   - 16.8 Char, initially with moisture then becoming hard
    16          DW         7   - 7.5 Tar and clay mixed
    17          VR       8.5   - 9.5 Tar
                          10   -  11 Tar
    18              VR     4   -    5 Tarry clay
                           5   -    7 Tar, non-liquid, soft, consolidated and cohesive.
    19              VR     6   - 7.5 Soft Char
                         7.5   -   8 Char with tar lenses
    22              AF     5   -    6 Soft char, pliable and moist
                         7.5   -    8 Tar lens, liquid
                           9   - 1 0 Softer char
                          10   - 12.5 Oily flowing tar
                          13   -  14 New tar flow
                          14   - 14.5 Soft char
    31              VR     7   - 7.8 Moist soft char
    32              VR     9   - 1 0 Char, sticky at barrier
    34              VR     9   - 1 0 Black soft char, pliable, not friable
                          10   - 11.5 Soft pliable char
    35              VR   7.5   -    8 Soft pliable char
                           8   - 8.5 Soft liquid char
    36              VR     7   - 7.5 Soft pliable char mixed with hard platy char
    37              VR     7   - 7.3 Sticky char, non-flowing
    39              VR   6.5   -    7 2 inch lens of gooey sticky tar consistency of frosting
                         9.5   -  10 Soft tar, mostly oily saturation
                          10   - 10.4 Soft tar
    40              AF     6   - 7.5 Slightly sticky semi-soft char; breaking into wafers
                         7.5   - 8.5 Friable char, oily and dripping
    43              VR   9.5   -  10 Moist, platy, vitreous char
                          11   -  12 Soft pliable/friable char
    44              VR     7   - 7.5 Black tarry char, vitreous amd pliable




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                                    TABLE 2


                      DESCRIPTIONS USED BY E&E
                    AND TRANSLATED AS TAR BY MSG


           Black, plastic material mixed with brown silt
           Black char, granular, with stringers of plastic tar
          Moist char
          Hard silty clay, tar ball stuck in sampler
          Clay mixed with tar lense
          Tar lense
          Tar
          Tar and char
          Tar and clay mixed
          Tarry clay
          Tar, non-liquid, soft, consolidated and cohesive.
          Soft Char
          Char with tar lenses
          Soft char, pliable and moist
          Tar lens, liquid
          Softer char
          Oily flowing tar
          New tar flow
          Darker brown clay with small char stringers
          Charry silty clay
          Moist soft char
          Char, sticky at barrier
          Black soft char, pliable, not friable
          Soft pliable char
          Soft liquid char
          Soft pliable char mixed with hard platy char
          Sticky char, non-flowing
          2 inch lens of gooey sticky tar consistency of frosting
          Soft tar, mostly oily saturation
          Soft tar
          Slightly sticky semi-soft char; breaking into wafers
          Friable char, oily and dripping
          Moist, platy, vitreous char
          Soft pliable/friable char
          Black tarry char, vitreous amd pliable




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             Figure 1           ISOPACH MAP OF TARRY MATERIAL THICKNESS (FT)




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                       PURPOSE OF A BASELINE RISK ASSESSMENT




                      Help determine whether additional response is
                      necessary at the Site

                      Modify preliminary remediation goals

               •      Help support selection of the "no action" remedial
                      alternative, where appropriate

               •      Document the magnitude of risk at the Site, and the
                      primary causes of that risk




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                                         EXPOSURE



               RAGS - Reasonable Maximum Exposure

               Former Guidance - Worst case analyses

               Examples:
                    30 years versus 70 years exposure
                    0.2 mg/day ingestion versus 1 mg/day

               RESULT:      Drives risk of all alternatives down




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                             RISK: CHEMICALS AND PATHWAYS



               Primary cause of risk for no-action alternative will not
               change

               Chemicals:
                    Arsenic
                    Benzene

               Pathway
                    Inhalation of vapors and dust

               RESULT:      No significant impact on risk assessment




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                                           LAND USE




               RAGS requires risk estimate based on current and future
               Site uses
                        •      Assume recreation
                        •      Would not change SROA conclusions t h a t :
                               •    remediation is needed
                               •    arsenic ingestion poses a risk




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                                          GROUNDWATER




                       Groundwater was not addressed in the SROA

                       It is a separate operable unit

                       Therefore, omission from the SROA of exposure to
                       groundwater chemicals does not mandate a new
                       baseline risk assessment




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                                         PRECEDENT



           There is precedent within Region IX for relying on
  Baseline Risk Assessments performed in accordance with old
  guidelines.  (South Bay Multi-Site Cooperative Superfund Program)




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